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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION

NIKKITA BROWN,

                    Plaintiff,
       vs.
                                                        Case No. 1:22-cv-03169
CITY OF CHICAGO, a Municipal
Corporation; and BRUCE R. DYKER, star
no. 19236, Individually and as an Employee
of the CITY OF CHICAGO,

                   Defendants.


                                   JOINT STATUS REPORT

       NOW COMES plaintiff, NIKKITA BROWN, and defendants, CITY OF CHICAGO, and

BRUCE R. DYKER, (hereinafter “the Parties”), by and through their attorneys, and for the parties’

Joint Status Report, state as follows:

   1) A proposed case schedule in light of the ruling on the motion to dismiss.

       Plaintiff’s Position:

            Rule 26(a)(1) disclosures by July 14, 2023;
            Fact discovery completed by April 15, 2024;
            Dispositive motions filed by May 15, 2024;
            Plaintiff’s expert disclosures by May 15, 2024;
            Plaintiff’s expert deposed by June 17, 2024;
            Defense expert disclosures July 17, 2024;
            Defense experts deposed by August 18, 2024

       Defendants’ Position:

        The underlying criminal matter of People v. Dyker, 22 CR 0639801, is pending, and the
Cook County Criminal Court has reserved August 8, 2023, for Defendant Dyker’s criminal trial.
Defendants respectfully request that Merits and Monell discovery be stayed against all Defendants
due to the pending criminal case against Defendant Dyker and Defendant City’s pending motion
to dismiss.
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   2) The parties’ views regarding prospects for settlement and whether they request a
      referral.

       The parties believe that a referral for settlement would be premature at this time. The parties
are open to the prospects of a referral once preliminary discovery has been completed.

   3) Any other matters the parties feel it would be helpful to discuss with the Court at a
      telephonic status hearing.

       None at this time.

Dated: June 15, 2023                           Respectfully Submitted,

                                               NIKKITA BROWN

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                                               CITY OF CHICAGO

                                       By:     /s/ Marion C. Moore
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                                               DEFENDANT BRUCE R. DYKER

                                       By:     /s/ Lisa M. McElroy
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